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IN THE UNITED STATES DISTRICT COURT £D BY %`“* D‘o'
FOR THE WESTERN DISTRICT OF TENNESSEE
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UNITED sTATEs oF AMERICA A'/D D*‘ F-“f. F'F*E.WHIS

Plaintiff,
VS CR. NO. 05-20202-Ml
ROSCOE DIXON

Defendant (S)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a Report Date on Tuesday, August 23, 2005 at
8:45 a.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Report
Date to Thursday, September 22, 2005 at 2:30 p.m. with a trial date of
Monday, October 3, 2005.

The period from September 16, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv} to allow defense counsel
additional time to prepare.

IT IS SO ORDERED this the 52 day of August, 2005.

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JON HIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

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UNITED S`TATE DRISTIC COUR - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

ThiS notice confirms a copy ot` the document docketed as number 24 in
case 2:05-CR-20202 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

Walter L. Bailey

WALTER BAILEY & ASSOCIATES
100 North Main St.

Ste. 3002

Memphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

